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UNITED STATES OF AMERICA,
Plaintiff,

Cv. NO. 02~3005-Ml
Cr. No. 99-20l55-Ml

VS.
ROBERT CARPENTER,

Defendant.

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ORDER REITERATING DENIAL OF CERTIFICATE OF APPEALABILITY
AND
CERTIFICATION THAT APPEAL IS NOT TAKEN IN GOOD FAITH

 

Defendant Robert Carpenter, inmate registration number 298702,
an inmate at the Turney Center Industrial Prison and Farm ("TCIPF")
in Only, Tennessee, filed a pro §§ motion under 28 U.S.C. § 2255,
seeking to set aside his convictions for carjacking and murder in
violation 18 U.S.C. §§ 2119 & 2; using and carrying a firearm during
and in relation to a crime of violence in violation of 18 U.S.C. §
924(c)(12)(a)(ii); and killing a potential federal witness in
violation of 18 U.S. C. § 1512(a). By order entered September l,
2004, this Court denied Carpenter’s motion, denied a certificate of
appealability, and certified pursuant to Rule 24 of the Federal Rules
of Appellate Procedure that an appeal would not be taken in good
faith.

On November l, 2004, Carpenter filed a motion for a certificate
of appealability and motion to proceed in forma pauperis with the

Sixth Circuit Court of Appeals. The Court of Appeals forwarded the

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Hwtions to this Court with the direction to treat the motions as
defendant's notice of appeal filed on November l, 2004.

For the reasons expressed in the order of dismissal, the Court
reiterates its previous holding denying' a certificate of
appealability and certifying any appeal as not taken in good faith.
Pursuant to Fed. R. App. P. 22(b) and 24(5), Carpenter must make any
further requests for a certificate of appealability or motion to
proceed on appeal ip fp;ma pauperis to the Sixth Circuit Court of

Appeals.

IT Is so oRDERED this fl day of M, 2005.
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UN: n sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:02-CV-03005 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

 

Robert LeWis Carpenter
Turney Center Industrial Prison
298702

Route l

Only7 TN 37140--970

Honorable J on McCalla
US DISTRICT COURT

